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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
               Plaintiff,                        )
                                                 )
v.                                               )           Criminal No. 08-30055-GPM/CJP
                                                 )
FUJIMI JACKSON,                                  )
                                                 )
               Defendant.                        )

                     ORDER AMENDING CONDITIONS of RELEASE

PROUD, Magistrate Judge:

       At the suggestion of the U.S. Probation Office, the court hereby amends the conditions of

pre-trial release for the above defendant as follows:

       1.      The condition that defendant participate in a home confinement program
               including electronic monitoring and curfew (paragraph 7(t) of the order setting
               conditions of release) is REMOVED.

       2.      The travel restrictions set forth in paragraph 7(i) are EXPANDED to include
               travel to the Eastern District of Missouri, as defense counsel maintains his office
               in that District.

       IT IS SO ORDERED.

       DATE: April 16, 2008.

                                              s/ Clifford J. Proud
                                              CLIFFORD J. PROUD
                                              UNITED STATES MAGISTRATE JUDGE
